Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 1 of 54 PageID #: 1



IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


ODILON S. CELESTIN, WIDMIR ROMELIEN,
GOLDIE LAMOTHE ALEXANDRE,
VINCENT MARAZITA,
and on behalf of all others similarly situated,
                                                                Case No. 18-cv-7340
                                Plaintiffs,                     CLASS ACTION COMPLAINT
                                                                (Trial by Jury Demanded)
                        -against-


MICHEL JOSEPH MARTELLY, JOCELERME
PRIVET, JOVENEL MOISE, WESTERN
UNION, CARIBBEAN AIR MAIL, INC.,
UNITRANSFER USA, INC.,
DIGICEL-HAITI, NATCOM S.A., and
THE GOVERNMENT OF HAITI
                                        Defendants.


            CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

Plaintiffs, Odilon S. Celestin, Widmir Romelien, Goldie Lamothe-Alexandre, Vincent Marazita,

(collectively, “Plaintiffs”), individually and on behalf of all others similarly situated, upon personal

knowledge and upon information and belief as to other matters, allege as follows:

                                    NATURE OF THE ACTION

1.      Plaintiffs bring this action against the defendants for entering into a horizontal price fixing

        agreement in violation of Section 1 of the Sherman Act of 1980, Section 6(a) of the Foreign



                                               1
                                    CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 2 of 54 PageID #: 2



     Trade Antitrust Improvement Act of 1982, The New York Donnelly Act, New York

     General Business Law § 349 and § 359, The California Cartwright Act, California Business

     & Professions Code§ 17500 et seq., California Business & Professions Code§ 17200 et

     seq., California Consumers Legal Remedies Act- Cal. Civ. Code §1750 et seq., and Florida

     Deceptive and Unfair Trade Practices Act § 501.201 et seq.,

2.   The Defendants conspired and entered into two horizontal price-fixing agreements,

     circulars #98, #7, and Presidential Order, to compel consumers to pay an extra $1.50 on

     every money transfer effectuated to and from Haiti; as well as charging consumers in the

     United States $0.05 per minute on every international call placed to and from Haiti.

     Plaintiffs and other remitters must call the beneficiaries of the money transfer to provide

     them with the money transfer control number (MTCN) in order for them to collect the

     monies remitted to them.

3.   This scam by the defendants was a ruse to steal money from Plaintiffs and other Class

     members under the guise that the collected funds resulted from a lawful tax imposed by

     the Haitian Government in order to fund free and compulsory education; when in truth, the

     funds collected went to serve the Defendants’ personal and private needs.

4.   Defendants conspired to mislead and deceive unsuspecting consumers, including the

     named Plaintiffs and other Class Members, by promoting, marketing, and advertising the

     fees as a tax imposition by the government of Haiti necessary to fund free education in

     Haiti. The horizontal agreements harmed the Plaintiffs by forcing them to pay higher

     premium at the time they remit funds to their relatives and friends. The horizontal price-

     fixing agreements further harmed the Plaintiffs as they paid more and received less talk



                                           2
                                CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 3 of 54 PageID #: 3



     time on phone calls placed to and from Haiti to apprise their relatives and friends of the

     money transfer effectuated.

5.   Plaintiffs are seeking damages arising from the illegal and fraudulent scheme to collect

     moneys from them in violation of the laws of the United States. The conducts complained

     of by the Plaintiffs are violation per se of the Sherman Act and the antitrust laws of the

     various States of the United States.

                               JURISDICTION AND VENUE

6.   This Court has original subject-matter jurisdiction over this action pursuant to the Class

     Action Fairness Act of 2005, 28 U.S.C.§ 1332 (d), which explicitly provides for the original

     jurisdiction of the federal courts in any class action in which at least 100 members are in

     the proposed plaintiff class, any member of the plaintiff class is a citizen of a State different

     from the State of citizen of any defendant, and the matter in controversy exceeds the sum

     of $5,000,000.00, exclusive of interest and costs.

7.   This Court has personal jurisdiction over the Defendants for reasons including but not

     limited to the following: Plaintiffs’ claims arise out of Defendants’ conduct within the State

     of New York.

8.   This Court has jurisdiction over Plaintiffs’ claims because Defendants’ conducts violate

     the Foreign Trade Antitrust Improvement Act of 1982 (FTAIA), 15 U.S.C. § 6a (2014).

9.   This Court has jurisdiction over Plaintiffs’ claims under the Alien Tort Statute, 28 U.S.C.

     § 1350 because Defendants’ conducts violate laws of the United States of America as well

     as the law of nations.



                                            3
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 4 of 54 PageID #: 4



10.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’

         claims based on the laws of the Republic of Haiti and over the state claims because those

         claims are so related to the federal claims that they form part of the same case or

         controversy.

11.       Venue is proper in this District under 28 U.S.C.§ 1391 (b)(2). A substantial part of the

         events or omissions giving rise to Plaintiffs’ claims occurred in this District, including

         Defendants’ dissemination of false and misleading information regarding the nature and

         purpose of the funds collected.

                                               PARTIES
      Plaintiffs

12.      Plaintiff Widmir Romelien is a United States Citizen residing in Rego Park, Queens, New

         York. For the past 15 years, he sent money to his family members and friends in Haiti

         through Western Union, Caribbean Air Mail, Inc (d/b/a CAM), or Unitransfer USA, Inc.

         which illegally collects a $1.50 on every money transfer he remits to Haiti. Mr. Romelien

         used either Digicel or Natcom which illegally collects $.05 per minute on the call on behalf

         of the Haitian government whenever he calls his relative to communicate the MCTN.

13.      Plaintiff Goldie Lamothe-Alexandre is a United States Citizen residing in Flatbush,

         Brooklyn, New York. For the past 40 years, she has been sending money as well as making

         telephone calls to her family members who reside in Haiti. Mrs. Alexandre was subjected

         to an illegal fee on money sent and on telephone calls made during the last 7 years. Mrs.

         Alexandre transacts mostly with Western Union, Caribbean Air Mail, Inc (CAM), or




                                              4
                                   CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 5 of 54 PageID #: 5



      Unitransfer USA, Inc. Mrs. Alexandre used either Digicel or Natcom which illegally

      collect $.05 per minute on the call on behalf of the Haitian government.

14.   Plaintiff Odilon S. Celestin is a United States Citizen residing in North Miami, Miami-

      Dade, Florida. For the past 17 years, he has been sending money as well as making

      telephone calls to his family who reside in Haiti. Mr. Celestin was subjected to an illegal

      fee on money sent and on telephone calls made during the last 7 years. Mr. Celestin

      transacts mostly with Western Union, Caribbean Air Mail, Inc (CAM), or Unitransfer

      USA, Inc. Mr. Celestin would use either Digicel or Natcom which illegally collects $.05

      per minute on the call on behalf of the Haitian government.

15.   Plaintiff Vincent Marazita is a United States Citizen residing in Canoga Park, California.

      For the past 3 years, Plaintiff Marazita has been sending money as well as making

      telephone calls to friends who reside in Haiti. Plaintiff Marazita was subjected to an illegal

      fee on money sent and on telephone calls made during the last 3 years. Mr. Marazita from

      time to time contracts either with Western Union, Caribbean Air Mail, Inc (CAM), or

      Unitransfer USA, Inc. Whenever Mr. Marazita contracts with Western Union, CAM, or

      Unitransfer USA, they illegally collect $1.50 on behalf of the Haitian government.

                                            DEFENDANTS

16.   Defendant Michel Joseph Martelly is a citizen of Haiti. Defendant Martelly at all relevant

      times orchestrated the scheme to defraud US Citizens, Residents and Haitians living in

      Haiti with the collection of the $1.50 and $.05 per minute on money transfers and on

      international phone calls made to or from Haiti respectively. Defendant Martelly conspired

      with the other named defendants to enter into a horizontal price-fixing arrangement. He is


                                            5
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 6 of 54 PageID #: 6



      subjected to the provisions of the Sherman Act, New York Donnelly Act, New York

      General Business Law § 349 and § 359, Florida Deceptive and Unfair Trade Practices Act

      § 501.201 et seq., California Business & Professions Code§ 17500 et seq., California

      Business & Professions Code§ 17200 et seq., California Consumers Legal Remedies Act-

      Cal. Civ. Code §1750 et seq., and California Cartwright Act,

17.   Defendant Jocelerme Privert is a Citizen of Haiti. Privert at all relevant times continued

      the conspiracy and the scheme by allowing the unlawful collection of the $1.50 and $.05

      per minute on money transfers and on international phone calls made to or from Haiti

      respectively. Privert is subjected to the provisions of the Sherman Act, New York Donnely

      Act, New York General Business Law § 349 and § 359, Florida Deceptive and Unfair

      Trade Practices Act § 501.201 et seq., California Business & Professions Code§ 17500 et

      seq., California Business & Professions Code§ 17200 et seq., California Consumers Legal

      Remedies Act- Cal. Civ. Code §1750 et seq., and California Cartwright Act,

18.   Defendant Jovenel Moise is a Citizen of Haiti. Defendant Moise at all relevant times

      continues to promote, market and collect the unlawful fees. Defendant Moise is subject to

      the provisions of the Sherman Act, New York Donnely Act, New York General Business

      Law § 349 and § 359, Florida Deceptive and Unfair Trade Practices Act § 501.201 et seq.,

      California Business & Professions Code§ 17500 et seq., California Business & Professions

      Code§ 17200 et seq., California Consumers Legal Remedies Act- Cal. Civ. Code §1750 et

      seq., and California Cartwright Act,

19.   Defendant Western Union Company (“Western Union”), also doing business as Western

      Union Financial Services, Inc., is a Delaware corporation with its principal place of

      business at 12500 East Belford Avenue, Englewood, Colorado 80112. At all relevant

                                           6
                                CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 7 of 54 PageID #: 7



      times, Western Union collects the $1.50 fee from US Citizens and Residents. Western

      Union is in violation of the Sherman Act, New York Donnely Act, New York General

      Business Law § 349 and § 359, Florida Deceptive and Unfair Trade Practices Act § 501.201

      et seq., California Business & Professions Code§ 17500 et seq., California Business &

      Professions Code§ 17200 et seq., California Consumers Legal Remedies Act- Cal. Civ.

      Code §1750 et seq., and California Cartwright Act,




20.   Defendant CAM is a corporation in the global money services business, incorporated

      under the laws of Florida, and headquartered in Miami, Florida. At all relevant times.

      CAM collects the $1.50 from US Citizens and Residents. Defendant CAM is in violation

      of the Sherman Act, New York Donnely Act, New York General Business Law § 349 and

      § 359, Florida Deceptive and Unfair Trade Practices Act § 501.201 et seq., California

      Business & Professions Code§ 17500 et seq., California Business & Professions Code§

      17200 et seq., California Consumers Legal Remedies Act- Cal. Civ. Code §1750 et seq.,

      and California Cartwright Act,

21.   Defendant UNITRANSFER USA., INC. is a corporation in the global money services

      business, incorporated under the laws of Delaware, and headquartered in Miami, Florida.

      At all relevant times, Unitransfer USA Inc. collects the $1.50 tax from US Citizens and

      Residents. UNITRANSFER is in violation of the Sherman Act, New York Donnely Act,

      New York General Business Law § 349 and § 359, Florida Deceptive and Unfair Trade

      Practices Act § 501.201 et seq., California Business & Professions Code§ 17500 et seq.,

      California Business & Professions Code§ 17200 et seq., California Consumers Legal

      Remedies Act- Cal. Civ. Code §1750 et seq., and California Cartwright Act,

                                          7
                               CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 8 of 54 PageID #: 8



22.   UNIGESTION HOLDING, S.A., a foreign corporation, d/b/a DIGICEL HAITI, Digicel

      Haiti is a wholly owned subsidiary of Digicel Holdings, Ltd., which also owns Digicel

      USA, Inc. (“Digicel USA”) and Digicel Jamaica, Ltd. (“Digicel Jamaica”). Digicel USA

      is a corporation providing telephone services incorporated under the laws of Delaware and

      registered as a foreign corporation in Florida. At all relevant times, Digicel collects the

      $.05 from US Citizens and Residents who made telephone calls to Haiti. UNIGESTION

      HOLDINGS, S.A. and its subsidiaries are in violation of the Sherman Act, New York

      Donnely Act, New York General Business Law § 349 and § 359, Florida Deceptive and

      Unfair Trade Practices Act § 501.201 et seq., California Business & Professions Code§

      17500 et seq., California Business & Professions Code§ 17200 et seq., California

      Consumers Legal Remedies Act- Cal. Civ. Code §1750 et seq., and California Cartwright

      Act,

23.   NATCOM, S.A. is a consortium, created under the laws of Haiti is a provider of

      telecommunications services in Haiti. At all relevant times. NATCOM. S. A charges US

      Citizens and Residents $.05 on telephone calls to Haiti. NATCOM, S.A. is in violation of

      the Sherman Act, New York Donnely Act, New York General Business Law § 349 and §

      359, Florida Deceptive and Unfair Trade Practices Act § 501.201 et seq., California

      Business & Professions Code§ 17500 et seq., California Business & Professions Code§

      17200 et seq., California Consumers Legal Remedies Act- Cal. Civ. Code §1750 et seq.,

      and California Cartwright Act,

24.   Defendant the Government of Haiti entered into two horizontal price-fixing arrangements

      and agreements knowing that such arrangements and agreements violated the laws of Haiti

      as well as the antitrust laws of the United States.

                                            8
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 9 of 54 PageID #: 9



25.   Various other persons and corporations not made defendants in this complaint, including

      high ranking government officials of Haiti and senior executives at Western Union, CAM.,

      Unitransfer U.S.A., Digicel Holding Ltd, and Natcom S.A. participated as co-conspirators

      in furtherance of this unlawful scheme to defraud the Plaintiffs and other Class members.

                                TRADE AND COMMERCE

26.   Firms in the same or similar industries, such as money transfer operators-Western Union,

      MoneyGram, Caribbean Airmail, Inc. and Unitransfer USA, Inc. together with Digicel

      Haiti and Natcom S.A., often compete to secure and retain consumers. This is especially

      true in money transfer and telecommunication industries in which prices mean everything

      for the service providers and the consumers. Offering competitive prices is the corner stone

      of every service provider’s business that wants to attract new accounts.

27.   The agreement and arrangement entered into by the Defendants eliminated this

      competition. The agreement harmed the consumers by forcing them to pay a higher price

      than necessary to transfer money to their relatives coupled with the increase in the price to

      telephone their relatives to communicate the transfer number. The Plaintiffs were already

      faced with a limited choice of money transfer operators and telephone service providers to

      keep their family from literally dying of hunger, the agreement made it even more

      restrictive. The arrangement disturbed the competitive process and places the public in a

      position to choose its poison.

28.   None of the Defendants took any steps to ensure that the public affected by the horizontal

      price-fixing agreement knew of its existence, or how it would impact them. Instead of

      informing the public of the unlawful agreement, Defendants embarked on a campaign to

      mislead the public by promoting and marketing the fee as lawful tax imposition.

                                           9
                                CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 10 of 54 PageID #: 10



      Defendants knew that disclosure of the agreements to the public would have created

      substantial legal and political problems for the Defendants under the laws of Haiti and those

      of the United States. Many affected consumers reside in the United States, which has a

      strong public policy prohibiting firms from committing acts or engaging in arrangement or

      entering into agreement to restrict trade and commerce.

                             SUBSTANTIVE ALLEGATIONS

29.   Defendant Martelly, during his electoral campaign for the presidency of Haiti in 2010,

      promised the people of Haiti free and compulsory education; an obligation that the

      government had under article 32-1 of the presently amended Haitian Constitution together

      with article 28 of the International Convention on the Right of the Child and article 13 of

      the International Convention on Economic, Social, and Cultural Rights to which Haiti is a

      signatory party.

30.   Defendant Martelly, through his appointee Charles Castel-Chairman of the Central Bank

      of Haiti, circulated “circular 98” which obligates every money transfer operator to add a

      $1.50 on every transfer effectuated to and from Haiti; to date, Defendant Martelly still

      markets, promotes, and advertises the $1.50 fee as a tax levied legally.

31.   Circular 98 left out several details causing the Defendants to reconvene and draft “Circular

      7” to supplement Circular 98. “Circular 7” was issued on May 31, 2011.

32.   The Circulars required that every money transfer operator to collect a US $1.50 from the

      sender of any money transfer effectuated to and from Haiti out of four geographical zones:

      The United States of America, Canada, Turks and Caicos, and the Bahamas.




                                           10
                                CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 11 of 54 PageID #: 11



33.    Circular 98 states that the fee of $1.50 is being collected for testing, certification, usage,

       and inspection. Circular 98 explicitly exempted the collection of the fee on money transfers

       conducted through bank wire transactions.

34.    There is no law that authorized the Bank of the Republic of Haiti to impose and collect fees

       in an effort “to generate revenues or to increase revenues” on behalf of the government.

35.    Article 218 of the Haitian Constitution states unequivocally that “[n]o tax in favor of the

       State may be established except by a law.”

36.    Article 111-2 1 of the Haitian Constitution allows the executive branch to introduce a bill

       “concerning the assessment, percentage and manner of collecting taxes and contributions,

       and laws designed to generate revenues or to increase revenues and expenditures of the

       Government’. Article 111-2 states clearly that “Bills introduced on these matters must be

       voted on first by the Chamber of Deputies.”

37.    Throughout the Class Period, no such law allowing the executive branch to generate

       revenues on behalf of the government was in effect.

38.    A bill allowing the government to generate revenues to fund Defendant Martelly’s free and

       compulsory education program was introduced and voted on by the Chamber of Deputies

       in August of 2012, 15 months after Defendant Martelly was already collecting the fees at

       issue as taxes levied.




1
  Article 111-2 reads: However, only the Executive Power may initiate budget laws, laws
concerning the assessment, percentage and manner of collecting taxes and contributions, and laws
designed to generate revenues or to increase revenues and expenditures of the Government, Bills
introduced on these matters must be voted on first by the Chamber of Deputies.

                                            11
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 12 of 54 PageID #: 12



39.   The bill was ratified by the senate in 2017 and published in the government official

      newspaper “Le Moniteur” on September 22, 2017 under Special No 30.

40.   The law as published makes no mention of the imposition and collection of the US$1.50

      fee on money transfer or the US$0.05 per minute on international calls to and from Haiti.

41.   Article 25 of the new law asserts that the Fonds National d’Education (FNE) is to secure

      funding or financial resources from: a) fee levied per minute on international calls

      effectuated to and from Haiti; b) fee levied on every international money transfer.

42.   Neither the proposed bill nor its final law version makes mention of a US$1.50 or US$0.05.

      The absence of an amount to be charged or levied on money transfer or international calls

      leaves the public at the mercy of the Defendants.

43.   The fees are collected as handling fee for the Bank of the Republic of Haiti. BRH does not

      provide any service to the public to justify its collection of a handling fee.

44.   The Defendants conspiracy to collect the fees at issue is a violation per se of the Sherman

      Act.

45.   Under Haitian’s jurisprudence, government officials who act in contravention of the law

      are deemed to have acted in their personal and private capacity; therefore, can be held

      personally liable.

       Materially False and Misleading Statements Issued During the Class Period

46.   Throughout the Class Period, the Defendants conspired to draft the circulars and then

      entered into an agreement amongst themselves to devise ways to collect the $1.50 and

      $0.05 per minute on money transfer and international phone calls respectively.


                                            12
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 13 of 54 PageID #: 13



47.   During the Class Period, which began on February 20, 2011, the Defendants conspired to

      make materially false and misleading statements regarding the true nature of the fees

      imposed.

48.   Defendant Martelly falsely promoted and advertised the collection of the $1.50 and the

      $0.05 as a special tax imposed to fund his Free and Compulsory Education Program

      (Programme de Scolarisation Universelle, Gratuite et Obligatoire-PSUGO).

49.   Defendant Martelly conspired with former Prime-Minister of Haiti Jean-Max Bellerive,

      Garry Cornille, and Laurent Lamothe who echoed the false and misleading statements that

      “the surcharge on wire transfers and international phone calls into Haiti generat[ed] only

      between $40 million and $50 million for education…the country is moving to increase

      taxes to raise $100 million to make “a big difference in the education system.”

50.   The Defendants collected the $1.50 and $.05 cents under the guise of a tax imposition.

51.   Defendants took great care to mislead the public, especially the Plaintiffs and individuals

      similarly situated, into believing the fees collected were because of a lawfully enacted tax

      law.




52.   All Defendants adopted as their own the statements issued by Defendant Martelly to

      promote and advertise the unlawful fees collection.

53.   The Defendants made false and/or misleading statements, as well as failed to disclose

      material adverse facts about the Presidential Order and the Circulars.




                                           13
                                CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 14 of 54 PageID #: 14



54.      Defendants did not disclose to the Plaintiffs or other similarly situated persons that the

         presidential order and circulars were not tax laws, nor do they have the effect of law under

         applicable laws of Haiti.

55.       Defendants willfully conspired to defraud the public to collect the fees under the guise of

         taxes to fund a free and compulsory education program which was not created by law.

56.      Defendants knew that the collection of the fees was unlawful, and its sole purpose was to

         benefit the Defendants.

57.      Between June 1, 2011 to date, Defendants have received numerous complaints regarding

         the unlawful collection and the misappropriation of the fees collected. Said collected fees

         totaling at least US$300,000,000. 2

     Pivotal Roles Played by Western Union, C.A.M. and Unitransfer USA to Carry Out the
                                     Fraudulent Scheme
58.      To carry out their fraudulent scheme, Defendants conspired with three of the four major

         MTOs which control at least 90% of the money transfer market sending money to and from

         Haiti by entering into a horizontal price-fixing agreement.

59.      Western Union is the largest money transfer company in the United States and worldwide

         with more than 50,000 of its 515,000 agents located in the United States.

60.      Consumers wishing to send funds using Western Union’s money transfer system may

         initiate a transaction in person, online, or over the telephone. Western Union claims that




2.
 The US$300,000,000 is predicated upon the disclosure made by Defendant Lamothe, former
Prime-Minister of Haiti, in his interview with the Miami Herald. If the government collected
between $40 and $50 million after the year 2011-2012, it stands to reason that after 6 years of
averaging $50 million, the total to date amounts to $300,000,000.00.

                                                14
                                     CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 15 of 54 PageID #: 15



      its locations are “around every corner” with “knowledgeable agents,” and that its money

      transfer services are “fast, convenient, and safe.”

61.   When initiating a money transfer at one of Western Union’s agent locations, the sender

      must complete a “send form,” which typically requires the sender’s name, address and

      telephone number, and the name of the recipient and the city, state/province, and country

      to which the money transfer is being sent.

62.   Once the initial process is completed, recurring consumers need not complete the “send

      form,” all they must do for all subsequent transfer is to give the Western Union agent their

      phone numbers and the name of the person to whom the money is being sent to.

63.   Once the consumers provide the information sought, if the funds are being wired to Haiti,

      the agent would then proceed to ask the consumers whether they wish to add the $1.50 tax.

      Where consumers decline to pay the alleged $1.50 tax, the $1.50 is deducted by Western

      Union at the time the beneficiaries receive the money.

64.   Western Union’s agents are oblivious of the arrangement/agreement made between the

      Defendants. As per the agents, the $1.50 is collected as a result of a tax law enacted by the

      Haitian government. The agents are unwittingly used to further the fraudulent scheme

      concocted by Defendants.

65.   Pursuant to circular 7, the $1.50 paid by consumers cover testing fee, certification fee, user

      fee and inspection fee.

66.   There is no privity of contract between the Central Bank of Haiti/BRH and consumers

      either in the United States or in Haiti.



                                            15
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 16 of 54 PageID #: 16



67.    BRH does not have on site agents to test, certify, inspect money being wired. Consumers

       do not contract or use any services provided by BRH; yet they are subjected to pay the fee

       that Western Union collects on BRH’s behalf.

68.    BRH is one of the regulatory bodies of the Haitian government. Its job is to regulate banks

       and other financial institutions servicing the population. Issuing circulars “that have the

       force of law” is not part of its attributions.

69.    Western Union conspired with BRH and agreed to enter into a horizontal price-fixing

       agreement with BRH to act as the agent of the Haitian government to fraudulently collect

       from consumers an extra $1.50. 3

70.    This fraudulent scheme is carried out with the knowledge and express consent of Western

       Union and its senior executives.

71.    Western Union agents are oblivious of the fact that the $1.50 is not a tax but a fee that

       Western Union together with the government of Haiti collects illegally. Yet they are

       obligated to ask consumers whether they want to add the $1.50.

72.     Western Union has taken no steps to inform its agents and consumers sending money to

       Haiti of the true nature of the fee collected.

73.     Western Union’s knowledge of its wrongful participation in the conspiracy to defraud the

       public through a price-fixing agreement with the Haitian government is confirmed by a




3
   The Haitian government would not term the $1.50 as a tax for education because such a
description would create a quasi-contract thereby renders the government and all actors herein
liable under article 1156, 1157, 1158, 1160, 1162, 1164, 1168, 1169, and 1170 of the Haitian Civil
Code and article 337of the Criminal Code of Haiti.

                                              16
                                   CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 17 of 54 PageID #: 17



      letter dated November 21, 2018 sent by Western Union’s attorney in response to a demand

      letter dated October 10, 2018 sent by Plaintiffs’ counsels.

74.   Western Union claims that the $1.50 is not collected here in the United States by its agents

      but rather by its agents in Haiti. Western Union continues to collect the fee to date.

75.   Western Union’s knowledge of the fraudulent nature of the collection is acknowledged in

      its claim that “Western Union’s local agents in Haiti are obligated to comply with the BRH

      Circulars, which carry the force of law.”

76.   Western Union does not address whether Western Union agents in the United States are

      also obligated to comply with Circulars issued by the Haitian government that are not laws

      but “carry the force of law.”

77.   Western Union knew that no law existed allowing it to collect the fee whether in Haiti or

      in the United States or anywhere else in the world.

78.   The circulars relied upon by Western Union states that the $1.50 is charged in exchange

      for the use of the “bank’s platform.”

79.   The circulars relied upon by Western Union is limited in geographical scopes. As per the

      circulars, the $1.50 was to apply to funds coming from the United States, Canada, Turks

      and Caicos, and the Bahamas.

80.   Western Union and the other money transfer operator defendants collect the fee from

      territories not covered by the “Circulars.” It collects the $1.50 from money transfers

      coming out of Jamaica, Chile, the Dominican Republic, etc.., countries not covered by the

      circulars.



                                           17
                                CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 18 of 54 PageID #: 18



81.   In addition to collecting the fee from countries not included in the circulars, Western Union

      agents on several occasions have kept, either for their own accounts or that of Western

      Union, an additional $.50 from the money remitted under the guise that they do not have

      loose change after deducting the $1.50.

82.   Western Union is aware of all these unlawful acts and has done nothing to protect the

      public.

83.   Western Union is aware of how its services are abused by people seeking to defraud others;

      yet Western Union enters into a concerted horizontal price-fixing arrangement to

      participate in the collection of an unlawful fee imposed by Defendant Martelly and the

      government of Haiti.

Caribbean Airmail, Inc, doing business as CAM

84.   CAM is a United Stated money transfer company incorporated under the laws of Florida.

      It is privately owned and operated. CAM was created to service the need of the Haitian

      communities, particularly the fraction that cannot read or write and lacks basic command

      of the English language.

85.   CAM’s services are available in several countries but its primary share of the industry rests

      solely within the Haitian diaspora located mainly in the United States and Canada.

86.   Defendant CAM does not have any anti-fraud policies and/or procedures. However, its

      website does contain a customer protection section.




                                            18
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 19 of 54 PageID #: 19



87.   CAM’s has no policy or procedure is in place to protect the public against fraud. CAM’s

      preoccupation is about protecting consumers’ private information as opposed to protecting

      them against fraud.

88.   CAM conspired with the Haitian government and to enter into a horizontal price-fixing

      agreement to defraud the Haitian diaspora and people with ties to Haiti by adding and

      collecting a fee in the amount of $1.50 under the guise that such fee is the result of a tax

      imposed by the government of Haiti to fund the free education program initiated by

      Defendant Martelly.

89.   CAM defrauds the Plaintiffs and other Class members when it issues a receipt that is not

      itemized. The receipt shows that the transfer amount includes the $1.50 but shows that the

      beneficiary will receive an amount minus the additional $1.50 fee.

90.   CAM engages in the same identical conduct as the other money transfer operators by

      charging and collecting the $1.50 from consumers in the United States as well as territories

      not covered by the circulars. CAM also charges and collects taxes on the $1.50.

91.   CAM violated article 36-2 of the Haitian Constitution prohibiting the taking of people’s

      property absent a court order or a law with its unlawful collection.

92.   At all material times, CAM’s conducts and involvements have harmed the American

      consumers by forcing them to pay fees that are the result of a price-fixing arrangement

      between CAM, Western Union, UNITRANSFER USA, Michel Joseph Martelly, and the

      Haitian government.

UNITRANSFER USA



                                           19
                                CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 20 of 54 PageID #: 20



93.    UNITRANSFER USA is a subsidiary of UNIBANK S.A. a bank incorporated under the

       laws of Haiti. UNIBANK S.A. incorporated UNITRANSFER USA under the laws of

       Delaware. UNITRANSFER is registered as a foreign company under the laws of Florida.

94.    UNITRANSFER USA services are available in several countries but its primary share of

       the industry rests solely with the Haitian diaspora located mainly in the United States and

       Canada.

95.    UNITRANSFER USA does not have a customer fraud protection policy or procedure.

       UNITRANSFER’s website makes no reference as to how consumers are protected against

       fraud or how they are committed to ensure that their services are not used to commit illegal

       acts.

96.    UNITRANSFER USA, defrauds the public by issuing a receipt that is not itemized. The

       receipt shows that the transfer amount includes the $1.50. The receipt does not say how

       much the beneficiary is to receive.

97.    UNITRANSFER USA engages in the same identical conduct as the other money transfer

       operators by charging and collecting the $1.50 from consumers in the United States as well

       as territories not covered by the circulars.

98.    UNITRANSFER USA receipts issued in Haiti has language that is the exact opposite of

       the language found in the circular.

99.    Section 2 of circular #07, issued on May 31, 2011 reads:

               2. Date d’entrée en vigueur

A compter du 15 juin 2011, la circulaire 98 s’applique à tous les transferts internationaux
(entrants et sortants, en espèces ou nature) effectués sur les zones géographiques suivantes :

                                             20
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 21 of 54 PageID #: 21



       1. Etats-Unis d’Amérique du Nord;

       2. Canada ;

       3. Iles Turks et Caicos;

       4. Bahama.

ENGLISH VERSION

       2.       Effective Date

Beginning June 15, 2011, circular 98 shall apply to all international transfer (to and from, in cash

or in kind) carried out from the following geographical zones:

       1. The United States of America;

       2. Canada;

       3. Turks and Caicos;

       4. Bahamas.

100.   Circulars 98 & 7 are alleged to have the force of law. The $1.50 is to be collected only and

       solely from the four countries mentioned in the preceding paragraph. UNITRANSFER

       USA, just like the other money transfer operators, engaged in collecting the $1.50 no matter

       where the transfer is coming from.

101.    UNITRANSFER USA inscribes on its receipts the following language:

               A partir du 15 juin 2011 tout transfert reçu de l’étranger est assujetti
               à des frais de USD 1.50 imposés par la BRH.
   ENGLISH VERSION



                                             21
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 22 of 54 PageID #: 22



              Beginning June 15, 2011 every transfer received from abroad is
              subject to a mandatory USD 1.50 fee imposed by the BRH.
102.   The language found in circular 7, does not authorize UNITRANSFER USA or any other

       money transfer operator to collect fees coming from countries outside the geographical

       zones mentioned in circular 7.

103.   The Haitian government is aware of the illegal collection made by UNITRANSFER USA,

       Western Union, and CAM; yet it has done nothing to protect the people of Haiti, the Haitian

       diaspora, and people with ties to Haiti.

104.   The Haitian government plays an integral role in this fraudulent scheme against the

       Plaintiffs, the Class members, and the people of Haiti.

105.   UNITRANSFER USA, along with Western Union, and CAM’s conducts violate the

       Foreign Corrupt Practices Act as they all share the illegal gains with Haitian officials for

       the latter to allow them to continue to collect money from countries excluded from the

       circulars alleged “to have the force of law.”

Telecommunication Companies Involvement

106.   Haiti has only two telecommunication companies Unigestion Holding S.A. d/b/a Digicel-

       Haiti and Natcom S.A. Digicel monopolizes the market as it controls more than 80% of the

       market share.

107.   Natcom S.A. is a consortium between the Group Viettel Telecom-a subsidiary of the

       Vietnamese army and the Haitian government.

108.   All national and international phone calls must go through the cell phone service provided

       by either of one of the phone companies.


                                             22
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 23 of 54 PageID #: 23



109.   Digicel-Haiti, through Digicel USA, controls most international calls to and from Haiti. As

       of September 9, 2011, Digicel charges 23 cents per minute for all international calls to and

       from Haiti; local calls are billed at the rate of about 9 cents per minute.

110.   Prior to September 9, 2011, Digicel charged 18 cents per minutes for international calls.

       After the presidential order, Digicel collects 5 cents more per minute on all international

       calls to and from Haiti.

111.   Digicel appears to be the only company that links international calls out of the United States

       to Haiti. Despite other companies’ ability to provide the same service at a fraction of the

       cost charged by Digicel, the Haitian government in exchange for payments has allowed

       Digicel to monopolize both the local market and international calls coming to and from

       Haiti. 4

112.   Digicel-Haiti in response to Plaintiffs’ counsel notice of intent to sue, stated in its letter

       that it bears no responsibility regarding the unlawful collection and misappropriation of the

       funds allegedly turned over to the government because it collects the 5 cents based on a

       law enacted.

113.   The law referenced by Digicel is a presidential order issued on September 9, 2011

       published in Haiti’s official paper Le Moniteur on September 2011 under publication #129.




4
 The pending suit titled UNIGESTION HOLDING, S.A., a foreign corporation, d/b/a DIGICEL
HAITI, vs. UPM TECHNOLOGY, INC. d/b/a UPM TELECOM, INC filed in IN THE UNITED
STATES DISTRICT COURT FOR THE DISTRICT OF OREGON under Case No. 3:15-cv-185-
SI offers a better understanding of Digicel’s strong hold on the Haitian telecommunication market.

                                             23
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 24 of 54 PageID #: 24



114.   The presidential order being relied upon and referred to as a law contravenes article 111,

       111-2 and 218 of the Constitution of Haiti. Therefore, renders all collections thereunder

       null and void.

115.   At all material times, Digicel-Haiti’s conduct and involvement in the scheme have harmed

       consumers in the United States by forcing them to pay fees that are the result of a horizontal

       price-fixing arrangement/agreement between Digicel-Haiti, Natcom S.A., Michel Joseph

       Martelly, and the Haitian government.

NATCOM S.A.

116.   Natcom S.A. is a consortium controlled mainly by VIETTEL, a branch of the Vietnamese

       army.

117.   NATCOM controls only 10.9% of the local market. NATCOM is partly own by the Haitian

       government. They conspired to enter into a horizontal price-fixing agreement relating to

       international phone calls that affects consumers in the United States.

118.   NATCOM S.A. collects the fees knowing that such collection was not authorized by law.

       NATCOM has not published any financial report detailing the amount collected and turned

       over to the government for the alleged free school program.




119.   At all material times, NATCOM’S S.A. conduct and involvement have harmed consumers

       in the United States by forcing them to pay fees that are the result of a price-fixing

       arrangement between Natcom S.A., Digicel-Haiti, Michel Joseph Martelly, and the Haitian

       government.



                                             24
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 25 of 54 PageID #: 25



    Haiti is Under Constitutional and Treaties Obligations to Provide Free and Compulsory
                                   Education to its Population
120.     It is well known that Haiti is the poorest country in the Western Hemisphere with 83% of

         its population living in poverty.

121.     With such a high percentage of people living in poverty, the idea of a free school program

         was and still is an appealing proposition to Haitian both in Haiti and abroad. Moreover,

         Haitians, just like many other impoverished people around the world, believe that

         EDUCATION is the road that leads out of poverty.

122.     Defendant Martelly used Education as a ploy to lure the people to believe in his free

         education program while the true and sole intent behind the program was for Defendant to

         convert any funds collected in relation thereto to his own use.

123.     Defendant Martelly in concert with all the Defendants mentioned herein diverted millions

         of dollars collected to support the alleged free education program 5.

124.     Article 32-2, 32-3, and 32-4 of the Haitian Constitution 6 obligate the Haitian government

         to provide free and compulsory fundamental education and in addition thereto,

         Agricultural, vocational and technical education to the population.




5
  Defendant Martelly secured an alleged $9,000,000.00 loan from Unibank to build a beach
house predicated on the $350,000.00 salary earned during his 5 years tenure as President.
6
  Article 32-2 The first responsibility of the State and its territorial divisions is education of the
masses, which is the only way the country can be developed. The State shall encourage and
facilitate private enterprise in this field.
Article 32-3 [Amended by the Constitutional Law of 9 May 2011 / 19 June 2012] Fundamental
education is obligatory. The classical necessities and didactic materials shall be placed freely by
the State at the disposition of the students at the level of fundamental education.
Article 32-4 [Amended by the Constitutional Law of 9 May 2011 / 19 June 2012] Agricultural,
vocational and technical education is a responsibility taken by the State and the territorial
collectivities.

                                               25
                                    CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 26 of 54 PageID #: 26



125.   In addition to the constitutional obligations placed on the government of Haiti, as a

       signatory party to the International Convention on the Rights of the Child, Haiti is further

       obligated under article 28 of said convention to provide free and compulsory education.

126.   Haiti is also obligated to provide free and compulsory education to its population under

       article 13 of the International Convention on Economic, Social, and Cultural Rights.

127.    The right to free education has long been recognized as one of the fundamental human

       rights enshrined in the Universal Declaration of Human Rights which was adopted by all

       nations, including Haiti, in 1948.

128.    Haiti’s failure to meet her Constitutional and treaties obligations as a result of government

       officials’ corrupt and unlawful conducts in converting money collected from Citizens and

       residents of the United States to fund an alleged free and compulsory education have

       caused great harm to citizens and residents living in the United States such that it touches

       and concerns the United States with ‘sufficient force’ to warrant displacement.

129.   Defendant Martelly, after depleting the PetroCaribe funds 7 earmarked to build schools-

       amongst other infrastructures-to help Haiti combat poverty, targeted the Haitian diaspora




6
  Pursuant to a book written by current senator Youri Latorture, also speaker of the senate, more
than US$3,833,890,217.58 disappeared under the watch of presidents Preval, Martelly, and
Privert. PetroCaribe is a program initiated by the administration of Hugo Chavez of Venezuela
designed to help alleviate the burden of external debts secured by Caribbean nations and to also
help them build infrastructures conducive to combat poverty. The program allows countries in the
Caribbean to purchase oil and then pay within 90 days the equivalent of 10-30% of the total sum
due and owing. The remaining 70-90% was offered as a loan at the return rate of 1% over the
course of 25 years. It is from that program that Haiti was able to accumulate the sum of USD 3,
833, 890, 217. 58, which has been converted by all of head of states named herein.

                                             26
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 27 of 54 PageID #: 27



       living mainly in the United States, Canada, Turks and Caicos, and the Bahamas with his

       free education program scheme.

130.   Defendant Martelly and cohorts knew that the remittances to Haiti account for more than

       30% of the country’s GDP. Defendant Martelly knew that of the more than 2.5 billion

       dollars remit to Haiti yearly from the Haitian diaspora and friends of Haiti, that Haitians

       and friends of Haiti living in the United States are responsible for more than half of said

       amount.

131.   Defendant Martelly and all named defendants conspired and entered into a price fixing

       agreement that resulted in harm to citizens and residents of the United States all under the

       guise of a tax imposed to fund education.

132.   Defendant Martelly and the other named defendants did succeed in amassing a large sum

       of money with their fraudulent scheme, except the funds were never used to fund the free

       and compulsory education program marketed and promoted by Defendant Martelly and the

       other Defendants.

Defendants Deceptively Promoted and Marketed the Unlawful Bank and Telephone Fee as
                                   a Lawful Tax


133.   Consumers are oblivious to the fact that the $1.50 collected on every money transfer and

       $0.05 collected on every international call are not because of a lawful tax imposition but

       because of two circulars and a presidential order issued by the Chairman of the Central

       Bank (BRH) and Defendant Martelly respectively.




                                            27
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 28 of 54 PageID #: 28



134.     Consumers are not aware that the $1.50 described as a bank fee is collected by BRH, the

         central bank of Haiti not for educational purpose but supposedly as a fee charged for

         sending and receiving money through BRH service platform.

135.     Consumers are not aware that the collection of the $1.50 is limited to only four countries:

         The United States, Canada, Turks and Caicos, and the Bahamas.

136.     Consumers are not aware that all international calls to Haiti must go through Digicel-

         USA’s routing system at the charge of $0.23 per minute.

137.     Defendants have falsely promoted and marketed at all relevant times in Haitian

         Newspapers, Haitian Radio and throughout the USA the collected fees as taxes and have

         done everything to hide the true purpose behind the $1.50 and $0.05 fees collected.

138.     Defendants market and advertise the fees as lawful taxes to induce the consumers into

         thinking that they have no choice but to pay such fees.

139.     In making the false, misleading, and deceptive representations and omissions, Defendants

         intended for consumers to pay the fees as promoted, furthering Defendants’ private interest

         to increase the government’s purse so that they can convert and embezzle more funds.

       Plaintiffs & the Class Members Reasonably Relied on Defendants’ Misrepresentations

140.     The horizontal price-fixing agreement by and between the Defendants left consumers with

         no choice but to drink their own poison.

141.     10 out of 10 consumers are oblivious to the fact that the collections of the fees are not

         subject to any law enacted for such a purpose.




                                              28
                                   CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 29 of 54 PageID #: 29



142.   Plaintiffs and the other Class Members were among the intended victims of Defendants’

       deceptive representations and omissions.

143.   Plaintiffs and the other Class Members reasonably relied to their detriment on Defendants’

       misleading representations and omissions.

144.   Defendants’ false, misleading, and deceptive misrepresentations and omissions will

       continue to deceive and mislead reasonable consumers and the public, as they have already

       deceived and misled Plaintiffs and the other Class Members.




145.   Defendants made the deceptive representation and omissions about the fees with the intent

       to induce Plaintiffs and the other Class Members to pay the fees every time they remit

       funds and place calls to and from Haiti.

146.   Defendants’ deceptive representations and omissions are material in that a reasonable

       person would attach importance to such information and would be induced to act upon such

       information when making money transfers and telephone calls to and from Haiti.

147.   Plaintiffs and the other Class Members’ reliance upon Defendants’ misleading and

       deceptive representations and omissions may be presumed.

       Defendants’ Wrongful Conduct Caused Plaintiffs’ and the Class Members’ Injuries


148.   The Defendants’ actions were the immediate, direct, and proximate cause of the damages

       suffered by Plaintiffs and other Class members.




                                            29
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 30 of 54 PageID #: 30



149.   Plaintiffs and the other Class members all paid more money to remit funds to relatives in

       Haiti and by the same token entered into a quasi-contract with the government of Haiti to

       provide free and compulsory education to the general population.

150.    Plaintiffs and the other Class members did not obtain the full benefit of the advertised

       Services because of the Defendants’ misrepresentations and omissions. Plaintiffs and the

       other Class members paid, or paid more for, the Services than they would have had they

       known the truth about the true nature of the use of the fees collected.

                                   CLASS ALLEGATIONS

151.   Plaintiffs incorporate all above allegations by reference as though fully set forth herein.

152.   Plaintiffs bring this action on behalf of themselves and as a class action pursuant to Rule

       23(a) and (b)(2) of the Federal Rules of Civil Procedure on behalf of a nationwide class

       (the "Nationwide (b)(2) Class"), defined as:

               All persons in the United States and its territories who used the
               services of one or more of the Money Transfer Operators and
               Telecommunication Companies during the Class Period who were
               subjected to paying the $1.50 on wire transfers and $0.05 on phone
               calls placed to Haiti.


153.   In addition, Plaintiffs bring this action on behalf of themselves and as a class action

       pursuant to Rule 23(a) and (b)(3) on behalf of a nationwide class (the "Nationwide (b)(3)

       Class"), defined as being coextensive with the Nationwide (b)(2) Class. 8




7. This Complaint refers to the Nationwide (b)(2) Class and the Nationwide (b)(3) Class, together,
as the “Nationwide Classes.”

                                             30
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 31 of 54 PageID #: 31



154.   Alternatively, Plaintiffs bring this action pursuant to Rule 23(a) and (b)(2) on behalf of

       themselves and a multi-state class of New York, Florida, and California residents (the “NY-

       FL-CA (b)(2) Class”), defined as:

               All persons in New York, Florida, and California who used one or
               more of the Money Transfer Operators and Telecommunication
               Companies during the Class Period.
       and, pursuant to Rule 23(a) and (b)(3), on behalf of a multi-state class of New York,

       Florida, and California residents (the “NY-FL-CA (b)(3) Class”), defined as being

       coextensive with the NY-FL-CA (b)(2) Class. 9

155.   Alternatively, Plaintiffs bring this action on behalf of themselves and on behalf of several

       statewide classes, as follows:

            a. Pursuant to Rule 23(a) and (b)(2), Plaintiffs Widmir Romelien and Goldie Lamothe

            bring this action on behalf of themselves and a class of New York residents who paid

            for the Services during the Class Period (the “New York (b)(2) Class") and, pursuant

            to Rule 23(a) and (b)(3), on behalf of a class of New York residents (the “New York

            (b)(3) Class”), defined as being coextensive with the New York (b)(2) Class. 10

            b. Pursuant to Rule 23(a) and (b)(2), Plaintiff Odilon Celestin brings this action on

               behalf of himself and a class of Florida residents who paid for the Services during

               the Class Period (the “Florida (b)(2) Class”) and, pursuant to Rule 23(a) and (b)(3),




8.     This Complaint refers to the NY-FL-CA (b)(2) Class and the NY-FL-CA (b)(3) Class,
together, as the "NY-FL-CA Classes."
9.     This Complaint refers to the Florida (b)(2) Class and the Florida (b)(3) Class, together, as
the “New York Classes.”


                                             31
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 32 of 54 PageID #: 32



                on behalf of a class of Florida residents (the “Florida (b)(3) Class”), defined as

                being coextensive with the New York (b)(2) Class. 11

            c. Pursuant to Rule 23(a) and (b)(2), Plaintiff Vincent Marazita brings this action on

                behalf of himself and a class of California residents who purchased one or more of

                the Products during the Class Period (the “California (b)(2) Class”) and, pursuant

                to Rule 23(a) and (b)(3), on behalf of a class of California residents (the “California

                (b)(3) Class”), defined as being coextensive with the California (b)(2) Class. 12

156.   Excluded from the Classes are Defendants, their subsidiaries, affiliates, and employees; all

       persons who make a timely election to be excluded from the Classes; governmental entities;

       and the judge(s) to whom this case is assigned and any immediate family members thereof.

157.   Certification of Plaintiffs’ claims for class-wide treatment is appropriate because Plaintiffs

       can prove the elements of their claims on a class-wide basis using the same evidence as

       would be used to prove those elements in individual actions alleging the same claims.

                     Numerosity-Federal Rule of Civil Procedure 23(a)(1)
158.   The members of each of the Classes are so numerous that individual joinder of all class

       members is impracticable.

159.   The precise number of members of the Classes is unknown to Plaintiffs, but it is clear that

       the number greatly exceeds the number that would make joinder practicable, particularly

       given Defendants’ worldwide service network.



10.     This Complaint refers to the Florida (b)(2) Class and the Florida (b)(3) Class, together, as
the “Florida Classes.”
11.     This Complaint refers to the California (b)(2) Class and the California (b)(3) Class,
together, as the “California Classes.”

                                              32
                                   CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 33 of 54 PageID #: 33



160.   Members of the Classes may be notified of the pendency of this action by recognized,

       Court-approved notice dissemination methods, which may include U.S. Mail, electronic

       mail, Internet postings, and/or published notice.

   Commonality and Predominance-Federal Rule of Civil Procedure 23(a)(2) and (b)(3)

161.   This action involves common questions of law or fact, which predominate over any

       questions affecting individual members of the Classes. All members of the Classes were

       exposed to Defendants’ deceptive and misleading advertising and marketing claims that

       the fees were taxes imposed to fund free education because those claims were made through

       radios, newspapers and televisions where the Plaintiffs reside. Furthermore, common

       questions of law or fact include:

           a. whether Defendants engaged in the conduct as alleged herein;

           b. whether Defendants’ practices violate applicable law cited herein;

           c. whether Plaintiffs and the other members of the Classes are entitled to actual,
              statutory, or other forms of damages, and other monetary relief; and

           d. whether Plaintiffs and the other members of the Classes are entitled to equitable
              relief, including but not limited to injunctive relief and restitution.


162.   Defendants engaged in a common course of conduct in contravention of the laws Plaintiffs

       seek to enforce individually and on behalf of the other members of the Classes. Similar or

       identical statutory and common law violations, business practices, and injuries are

       involved. Individual questions, if any, pale by comparison, in both quality and quantity, to

       the numerous common questions that dominate this action. Moreover, the common

       questions will yield common answers.

                     Typicality-Federal Rule of Civil Procedure 23(a)(3)


                                            33
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 34 of 54 PageID #: 34



163.   Plaintiffs’ claims are typical of the claims of the other members of the Classes because,

       among other things, all members of the Classes were comparably injured through the

       uniform misconduct described above, were subject to Defendants’ false, deceptive,

       misleading, and unfair advertising and marketing practices and representations, including

       the false claims that “the fees were imposed by lawful tax laws.” Further, there are no

       defenses available to Defendants that are unique to Plaintiffs.

               Adequacy of Representation-Federal Rule of Civil Procedure 23(a)(4)

164.   Plaintiffs are adequate representatives of the members of the Classes because their interests

       do not conflict with the interests of the other members of the Classes they seek to represent;

       they have retained counsel competent and experienced in complex litigation together with

       knowledge of French and Haitian laws; and Plaintiffs will prosecute this action vigorously.

       The Classes’ interests will be fairly and adequately protected by Plaintiffs and their

       counsel. The Law Offices of Denis Law Group, PLLC and Rodney R. Austin PLLC. have

       long been leaders in the representation of consumers in a wide variety of actions where

       they have sought to protect consumers from fraudulent and deceptive practices.

        Declaratory and Injunctive Relief-Federal Rule of Civil Procedure 23(b)(2)

165.   Defendants have acted or refused to act on grounds generally applicable to Plaintiffs and

       the members of the Nationwide Classes, thereby making appropriate final injunctive relief

       and declaratory relief, as described below, with respect to the members of the Classes as a

       whole. The conducts complained of by the Plaintiffs are violations per se of the Sherman

       Act and the antitrust laws of the various states of the United States.

                                     CAUSES OF ACTION


                                             34
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 35 of 54 PageID #: 35



                                            COUNT I
  (Violation of New York General Business Law § 349 (Deceptive Acts and Practices)
                          (On behalf of the Nationwide Classes)


166.   Plaintiffs repeat and re-allege and incorporate by reference the allegations set forth in the

       preceding paragraphs numbered one (1) through one hundred sixty-five (165) as if fully set

       forth herein.

167.   Plaintiffs bring this claim individually and on behalf of the other Nationwide Classes.

168.   New York General Business Law § 349 (“GBL § 349”) prohibits “deceptive acts               or

       practices in the conduct of any business, trade or commerce or in the furnishing of any

       service in [New York].”

169.   Throughout the Class Period, Plaintiffs and other Class members entered into transactions

       with defendants Western Union, CAM, and Unitransfer USA to remit money to Haiti in

       exchange for a transfer fee.

170.   During the course of the transactions, said Defendants, acted as agents the government of

       Haiti collected extra fees through a fraudulent scheme concocted and agreed to by the

       Defendants.

171.   Defendants took affirmative steps to market, promote, advertise and implement the

       fraudulent scheme characterizing the collection of the additional fees as taxes, laws and

       any other description that allowed them to advance the scheme on unsuspecting consumers.

172.   Defendants engaged in, and continue to engage in, deceptive acts and practices because the

       fees paid and received are collected for the benefit of Haiti’s Central Bank (BRH) and

       Conseil National des Télécommunications (CONATEL) based upon unlawful measures

                                            35
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 36 of 54 PageID #: 36



       and/or unlawful official acts.

173.   Plaintiffs believed the Defendants’ representations that the fees were “lawful taxes levied

       to fund free and compulsory education.” Plaintiffs would not have transacted with

       Defendants had they known the fees were the results of Defendants’ unlawful acts and

       conducts and was not compulsory.

174.   Plaintiffs were injured in fact and lost money as a result of Defendants’ horizontal price-

       fixing agreements and Defendants’ conduct of improperly describing the fees as mandatory

       “lawful taxes levied to fund free and compulsory education.”

175.   Plaintiffs seek damages resulting from Defendants fraudulent and illegal scheme.

                                         COUNT II
         (Violation of New York General Business Law § 350 (False Advertising)


176.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through hundred seventy-five (175) as if fully set forth

       herein.

177.   Plaintiffs bring this claim individually and on behalf of the Nationwide Classes.

178.   New York General Business Law § 350 (“GBL §350”) makes “[f]alse advertising in the

       conduct of any business, trade or commerce or in the furnishing of any service” in New York

       unlawful.

179.   Throughout the Class Period, Defendants by advertising, marketing, promoting and/or

       charging the fees with claims that they were lawful taxes levied to fund free and

       compulsory education” to Plaintiffs and other New York Class members, Defendants

       violated GBL §350 by engaging in, and it continues to violate GBL §350 by continuing to

                                             36
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 37 of 54 PageID #: 37



       engage in, false advertising concerning the fees being lawful taxes levied to fund a free and

       compulsory education program in Haiti, when in fact they are not.

180.   Plaintiffs and the other members of the Nationwide Classes seek to enjoin such unlawful

       acts and practices as described above. Each member of the Nationwide Classes including

       the Plaintiffs will be irreparably harmed unless the unlawful actions of Defendants are

       enjoined in that Plaintiffs will continue to pay the compulsory fees based on Defendants’

       representations that they are “lawful taxes.”

181.   Plaintiffs believed Defendants’ representations that the fees are “lawful taxes imposed to

       fund free and compulsory education.” Plaintiffs would not have vehemently protest paying

       the extra fees imposed.

182.   Plaintiffs were injured in fact and lost money as a result of Defendants’ conduct of

       improperly describing the fees as “lawful taxes imposed to fund free and compulsory

       education.” Plaintiffs paid the extra fees as taxes in exchange for a promise to provide

       free and compulsory education to the Haitian population including Plaintiffs’ relatives but,

       did not receive the benefits of such bargain. Defendants collected the fees and converted

       them to their own use.

183.   Plaintiffs and the Nationwide Classes seek declaratory relief, restitution for moneys

       wrongfully obtained, disgorgement of ill-gotten revenues and/or profits, injunctive relief,

       enjoining Defendant from continuing to disseminate their false and misleading statements,

       and other relief allowable under New York General Business Law § 350.

                                           COUNT III
  (Violation of the Florida Deceptive And Unfair Trade Practices Act § 501.201 et seq. )


                                            37
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 38 of 54 PageID #: 38



184.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through hundred eighty-three (183) as if fully set forth herein.

185.   Plaintiffs bring this claim individually and on behalf of the other members of the

       Nationwide Classes.

186.   Section 501.204(1) of the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)

       makes “unconscionable acts or practices and unfair or deceptive acts or practices in the

       conduct or any trade or commerce” in Florida unlawful.

187.   Throughout the Class Period, by advertising, marketing, promoting, and/or entering into

       transactions with claims that added fees are “lawful taxes imposed to fund free and

       compulsory education in Haiti.” to Plaintiffs and other Class members, Defendants violated

       the FDUTPA by engaging in, and they continue to violate the FDUTPA by continuing to

       engage in, false advertising and collecting the fees as lawful taxes to fund free and

       compulsory education in Haiti, when in fact, they are not.

188.   Plaintiffs and other members of the Nationwide Classes seek to enjoin such unlawful acts

       and practices described above. Each of the Class members will be irreparably harmed

       unless the unlawful actions of Defendants are enjoined in that Defendants will continue to

       collect the fees charged unlawfully together with continuing to falsely and misleadingly

       advertise them as “taxes.”

189.   Plaintiffs were injured in fact and lost money as a result of Defendants’ conduct of

       improperly describing the extra fees paid as “lawful taxes imposed to fund free and

       compulsory education.” Plaintiffs, when transacting with Defendants, paid extra fees as

       taxes in exchange for a promise to provide “free and compulsory education to the Haitian


                                               38
                                    CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 39 of 54 PageID #: 39



       population,” including Plaintiffs’ relatives but, did not receive the benefits of such bargain.

       Defendants collected the fees and converted them to their own used.

190.   Plaintiffs and the members of the Nationwide Classes seek declaratory relief, enjoining

       Defendants from continuing to collect the fees and from continuing to disseminate their

       false and misleading statements, actual damages plus attorney’s fees and court costs, and

       other relief allowable under the FDUTPA.

                                           COUNT IV
                         (Civil Theft Pursuant to Florida Statute §772.11)

191.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through hundred ninety (190) as if fully set forth herein.

192.   Plaintiffs bring this claim individually and on behalf of the other members of the

       Nationwide Classes.

193.   This is an action for civil theft pursuant to Fla. Stat. §772.11. 47.

194.   Throughout the Class Period, Defendants transacted with Plaintiffs and have obtained

       and/or used at least $500,000,000.00 of Plaintiffs’ money without Plaintiffs’ permission.

195.   Throughout the Class Period, Defendants did unlawfully and knowingly use or endeavor

       to use Plaintiffs’ money and did knowingly deprive or endeavor to deprive Plaintiffs and

       the other members of the Nationwide Classes of their money with the intent to temporarily

       or permanently deprive Plaintiffs and the other members of the Nationwide Classes of their




                                             39
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 40 of 54 PageID #: 40



       rights to the money and benefit thereof, all for defendants’ own use, or the use of any

       person not entitled thereto, in violation of Florida Statute §812.014. 13

196.   Pursuant to Florida Statute §772.11, Plaintiff made a final written statutory demand for its

       property on October 5th, 2018. To date, and despite demand by Plaintiffs, defendants have

       failed to return Plaintiffs’ property.

197.   As a direct and proximate cause of defendants’ unlawful actions, Plaintiffs were and

       continue to be deprived of their rights to their property and the benefits therefrom and have

       suffered damages in the minimum amount of $500,000,000.00.

198.   Pursuant to Florida Statute §772.11, Plaintiffs are entitled to treble damages in the

       minimum amount of $1,500,000,000.00 for the theft of their money committed by

       defendants.

199.   As a direct result of defendants depriving Plaintiffs of their rights to possess and enjoy their

       money and the benefits therefrom, and defendants’ continuing failure and refusal to return

       Plaintiffs’ property, Plaintiffs were required to retain counsel and are obligated to pay their

       counsel a fee.

200.   Plaintiff is entitled to an award of attorneys’ fees pursuant to Fla. Stat.§772.11.

                                         COUNT V
       (Violation of California Business & Professions Code § 17500 et seq.)




12.     Fla. Stat. §812.014 provides, (1) A person commits theft if he or she knowingly obtains or
uses, or endeavors to obtain or to use, the property of another with intent to, either temporarily
or permanently:
        (a) Deprive the other person of a right to the property or a benefit from the
property.

                                              40
                                   CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 41 of 54 PageID #: 41



201.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through two hundred (200) as if fully set forth herein.

202.   Plaintiffs bring this claim individually and on behalf of the members of the Nationwide

       Classes.

203.   Throughout the Class Period, Defendant engaged in a public advertising and marketing

       campaign representing the unlawful fees as “lawful taxes imposed to fund free and

       compulsory education in Haiti.”

204.   The fees collected as taxes are in in fact “bank fees and telephone services fees.”

       Defendants’ advertisements and marketing representations are, therefore, misleading,

       untrue, have misled and will continue to deceive the public.

205.     Defendants engaged in their advertising and marketing campaign with intent to directly

         induce consumers to pay extra moneys based on false claims.

206.     In making and disseminating the statements alleged herein, Defendants knew or should

         have known that the statements were untrue or misleading.

207.     Plaintiffs and other Class members believed Defendants’ representations that the extra

         fees paid are “lawful taxes imposed to fund free and compulsory education in Haiti.”

         Plaintiffs and other members of the Nationwide Classes would not have paid the extra

         money transfer fees and telephone services had they known the moneys were bank fees

         and phone services fees charged by the government of Haiti.

208.     Plaintiffs and other members of the Nationwide Classes were injured in fact and lost

         money as a result of Defendants’ conduct of improperly describing the extra fees paid as



                                            41
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 42 of 54 PageID #: 42



        “lawful taxes imposed to fund free and compulsory education.” Plaintiffs paid the extra

        moneys as taxes in exchange for a promise to provide free and compulsory education to

        the Haitian population including Plaintiffs’ relatives but, did not receive the benefits of

        such bargain. Defendants collected the money and converted them to their own use.

                                          COUNT VI
           (Violation of California Business & Professions Code § 17200 et seq.)

209.    Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

        paragraphs numbered one (1) through two hundred eight (208) as if fully set forth herein.

210.    Plaintiffs bring this claim individually and on behalf of the Nationwide Classes.

211.    The circumstances giving rise to Plaintiffs’ allegations include Defendants’ laws and

        policies regarding fraud prevention and money laundering.

212.    By engaging in the acts and practices described above, Defendants committed one or

        more acts of “unfair competition” within the meaning of Business and Professions Code

        § 17200. “Unfair competition” is defined to include any “unlawful, unfair or fraudulent

        business act or practice and unfair, deceptive, untrue or misleading advertising and any

        act prohibited by [Business and Professions Code § 17500 et seq.].”

213.    Defendant committed “unlawful” business acts or practices by, among other things,

        violating California Business & Professions Code § 17500.

214.    Defendant committed “unfair” business acts or practices by, among other things:

             a. engaging in conduct where the utility of such conduct, if any, is
                outweighed by the gravity of the consequences to Plaintiffs and
                members of the California Classes;



                                            42
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 43 of 54 PageID #: 43



              b. engaging in conduct that is immoral, unethical, oppressive,
                 unscrupulous, or substantially injurious to Plaintiffs and
                 members of the California Classes; and


              c. engaging in conduct that undermines or violates the spirit or
                 intent of the consumer protection laws alleged in this Complaint.


215.     Defendants committed unlawful, unfair and/or fraudulent business acts or practices by,

         among other things, engaging in conduct Defendants knew or should have known was

         likely to and did deceive the public, including Plaintiffs and other members of the

         Nationwide Classes.

216.   Defendants unlawful, unfair, and/or fraudulent practices include making false and/or

       misleading representations that the extra fees collected through the transactions were

       “lawful taxes imposed to fund free and compulsory education in Haiti.” Plaintiffs and the

       other members of the Nationwide Classes believed and relied on Defendants’

       representations to their detriment.

217.   Plaintiffs and the other members of the Nationwide Classes were injured in fact and lost

       money because of Defendants’ conduct of improperly describing the extra fees paid as

       “lawful taxes imposed to fund free and compulsory education.” Plaintiffs paid the extra

       fees as taxes in exchange for a promise to provide free and compulsory education to the

       Haitian population including Plaintiffs’ relatives but, did not receive the benefits of such

       bargain. Defendants collected the money and converted them to their own use.

218.   Plaintiffs and the members of the Nationwide Classes seek declaratory relief, restitution

       for moneys wrongfully obtained, disgorgement of ill-gotten revenues and/or profits,

       injunctive relief, and other relief allowable under California Business & Professions Code

       Section I7203, including, but not limited to, enjoining Defendants from continuing to


                                             43
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 44 of 54 PageID #: 44



       engage in their unfair, unlawful and/or fraudulent conduct as alleged.

                                      COUNT VII
(Violation of the California Consumers Legal Remedies Act - Cal. Civ. Code § 1750 et seq.)

219.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through two hundred eighteen (218) as if fully set forth

       herein.

220.   Plaintiffs bring this claim individually and on behalf of the Nationwide Classes pursuant

       to the California Consumers Legal Remedies Act, Cal. Civ. Code § 1750 et seq. (the

       “CLRA”). This cause of action seeks monetary damages and injunctive relief pursuant to

       California Civil Code § 1782.

221.   On or about October 5, 2018, Plaintiffs sent Defendants a Notice and Demand Letter,

       notifying Defendants of their violations of the CLRA. Defendants did not correct the

       misrepresentations identified in the demand letter.

222.   Defendants’ actions, representations, and conduct have violated, and continue to violate,

       the CLRA because they extend to transactions that are intended to result, or that have

       resulted, in the money transfer transaction entered with consumers.

223.   Plaintiffs and all members of the Nationwide Classes are “consumers” as that term         is

       defined by the CLRA in California Civil Code § 1761(d).

224.   Defendants entered into “transactions,” within the meaning of California Civil Code §

       1761(e), with Plaintiffs and other members of the Nationwide Classes.

225.   By engaging in the actions, misrepresentations, and misconduct set forth in this Class

       Action Complaint, Defendants violated, and continue to violate, California Civil Code §

       1770(a)(5) by misrepresenting that the fees paid as “lawful taxes levied” and have

       particularly stated that such tax revenues “were going to fund free and compulsory


                                            44
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 45 of 54 PageID #: 45



       education in Haiti,” when in fact, they are not.

226.   By engaging in the actions, misrepresentations, and misconduct set forth in this Complaint,

       Defendants violated, and continues to violate, California Civil Code § 1770(a)(5), by

       representing that the extra fees paid resulted from a lawful tax imposition.

227.   By engaging in the actions, misrepresentations, and misconduct set forth in this Complaint,

       Defendants violated, and continues to violate, California Civil Code § 1770(a)(14) by

       misrepresenting that a subject of the subject transaction confers or involves rights,

       remedies, or obligations that it does not have or involve, or that are prohibited by law.

228.   Defendants violated the CLRA by not representing through its advertisements the true

       nature of the transaction resulting in the payment of extra fees as described above when

       they knew, or should have known, that the representations and advertisements were

       unsubstantiated, false, and misleading.

229.   Plaintiffs and the other members of the Nationwide Classes believed Defendants’

       representations to their detriment. Plaintiffs and the other members of the members of the

       Nationwide Classes were injured in fact and lost money. Defendants’ conduct of

       improperly describing the extra moneys paid as “lawful taxes imposed to fund free and

       compulsory education.” Plaintiffs paid the extra moneys as taxes in exchange for a promise

       to provide free and compulsory education to the Haitian population including Plaintiffs’

       relatives but, did not receive the benefits of such bargain. Defendants collected the money

       and converted them to their own use.

230.   Plaintiffs request that this Court enjoin Defendants from continuing to employ the unlawful

       methods, acts, and practices alleged herein pursuant to California Civil Code § 1780(a)(2).

       If Defendants are not restrained from engaging in these types of practices in the future,


                                             45
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 46 of 54 PageID #: 46



       Plaintiffs and the members of the Nationwide Classes will be harmed in that they will

       continue to pay extra money on Defendants’ representations that the fees collected by the

       remittance transactions are “lawful taxes levied by the Haitian government to fund free and

       compulsory education for the population.”

                                       COUNT VIII
                   (Intentional Misrepresentation Under New York Law)

231.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through two hundred thirty (230) as if fully set forth herein.

232.   Plaintiffs bring this claim individually and on behalf of the other members of the

       Nationwide Classes.

233.   Throughout the Class Period, Defendants, while contracting with Plaintiffs and other

       Nationwide Class Members, have intentionally misrepresented a material fact about the

       transactions by claiming that the extra fees are “lawful taxes levied to fund free and

       compulsory education program;” or by purposely failing to offer a description for the line

       item containing the fees.

234.   At the time Defendants made the misrepresentations herein alleged, Defendants knew the

       fees were not “lawful taxes” because the legislative body of Haiti’s government never

       enacted a law permitting such imposition.

235.   Defendants misrepresented the extra fees as “lawful fees” with the purpose of inducing

       Plaintiffs’ and the Nationwide Class members’ reliance and inducing Plaintiffs and the

       Nationwide Class members to contract with them and pay the extra fees.

236.   Plaintiffs and the Nationwide Class members reasonably relied on Defendants’

       representations that the extra fees were “lawful taxes” and, in reasonable reliance thereon,



                                              46
                                   CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 47 of 54 PageID #: 47



       did contract with Defendants and pay the extra fees.

237.   Plaintiffs and the Nationwide Class members were ignorant as to the falsity of Defendants’

       “lawful taxes” misrepresentations and would not have transacted with Defendants or pay

       the extra fees had they known the extra fees were not “lawful taxes levied.”

238.   Plaintiffs and the other members of the Nationwide Classes were injured in fact and lost

       money because of Defendants’ conduct of improperly describing the extra fees paid as

       “lawful taxes imposed to fund free and compulsory education.” Plaintiffs paid the extra

       fees as taxes in exchange for Defendants’ promise to provide free and compulsory

       education to the Haitian population including Plaintiffs’ relatives but, did not receive the

       benefits of such bargain. Defendants collected the extra fees and converted them to their

       own use.

                                            COUNT IX
                     (Intentional Misrepresentation Under Florida Law)

239.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through two hundred thirty-eighty (238) as if fully set forth

       herein.

240.   Plaintiffs bring this claim individually and on behalf of the other members of the

       Nationwide Classes.

241.   Throughout the Class Period, while transacting with Plaintiffs and other Class members,

       Defendants have intentionally misrepresented a material fact by claiming that the extra fees

       are “lawful taxes levied to fund a free and compulsory education program” or by purposely

       failing to offer a description for the line item containing the fees.



                                             47
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 48 of 54 PageID #: 48



242.   At the time Defendants made the misrepresentations herein alleged, Defendants knew the

       extra fees were not “lawful taxes levied” because the legislative body of Haiti never enacted

       a law permitting such imposition.

243.   Defendant misrepresented the fees as “lawful taxes levied” with the purpose of inducing

       Plaintiffs’ and the Class members’ reliance and inducing Plaintiffs and the Class members

       to contract with them and pay the extra fees.

244.   Plaintiffs and the Class members reasonably relied on Defendants’ representations that the

       extra fees were “lawful taxes levied” and, in reasonable reliance thereon, transacted with

       Defendants and paid the extra fees.

245.   Plaintiffs and the Class members were ignorant as to the falsity of Defendants’ “lawful

       taxes” misrepresentations and would not have transacted with Defendants or paid the extra

       fees.

246.   Plaintiffs and the other members of the Class were injured in fact and lost money because

       of Defendants’ conduct of improperly describing the extra fees paid as “lawful taxes

       imposed to fund free and compulsory education.” Plaintiffs paid the extra fees as taxes in

       exchange for Defendants’ promise to provide free and compulsory education to the Haitian

       population including Plaintiffs’ relatives but, did not receive the benefits of such bargain.

       Defendants collected the extra fees and converted them to their own use.

                                             COUNT X
                   (Intentional Misrepresentation Under California Law)




                                            48
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 49 of 54 PageID #: 49



247.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through two hundred forty-six (246) as if fully set forth

       herein.

248.   Plaintiffs bring this claim individually and on behalf of the Nationwide Classes.

249.   Throughout the Class Period, while transacting with Plaintiffs and the other Nationwide

       Class members, Defendants have intentionally misrepresented a material fact by claiming

       that the extra fees are “lawful taxes levied to fund a free and compulsory education

       program” or by purposely failing to offer a description for the line item containing the fees.

250.   At the time Defendants made the misrepresentations herein alleged, Defendants knew the

       extra fees were not “lawful taxes levied” because the legislative body of Haiti never enacted

       a law permitting such imposition.

251.   Defendant misrepresented the fees as “lawful taxes levied” with the purpose of inducing

       Plaintiffs’ and the Nationwide Class members’ reliance and inducing Plaintiffs and the

       Class members to contract with them and pay the extra fees.

252.   Plaintiffs and the Nationwide Class members reasonably relied on Defendants’

       representations that the extra fees were “lawful taxes levied” and, in reasonable reliance

       thereon, transacted with Defendants and paid the extra fees.

253.   Plaintiffs and the Nationwide Class members were ignorant as to the falsity of Defendants’

       “lawful taxes” misrepresentations and would not have transacted with Defendants or paid

       the extra fees.

254.   Plaintiffs and the Nationwide Class members were injured in fact and lost money because

       of Defendants’ conduct of improperly describing the extra fees paid as “lawful taxes

       imposed to fund free and compulsory education.” Plaintiffs paid the extra fees as taxes in

                                             49
                                  CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 50 of 54 PageID #: 50



       exchange for Defendants’ promise to provide free and compulsory education to the Haitian

       population including Plaintiffs’ relatives but, did not receive the benefits of such bargain.

       Defendants collected the extra fees and converted them to their own use.

                                         COUNT XI
                                      Unjust Enrichment

255.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through two hundred fifty-four (254) as if fully set forth

       herein.

256.   Plaintiffs bring this claim individually and on behalf of the other Class Members against

       Defendants.

257.   Defendants, as alleged high-ranking officials of the Haitian government, Money Transfers

       Operators, Telecommunications companies, transacted with Plaintiffs and the other Class

       Members represented that the $1.50 and $0.05 fees collected are “lawful taxes levied to

       fund a free and compulsory education program.”

258.   Defendants’ representations about the fees collected were false. The fees are the result of

       unlawful conduct of Defendants who entered into horizontal price-fixing agreements which

       are memorialized by two circulars and a presidential order issued in contravention of the

       laws of Haiti.

259.   Defendants collected the fees under the ruse that they are taxes levied to fund a free and

       compulsory education program in Haiti. Contrary to the representations made by

       Defendants, the fees collected are converted to the personal and private use of the

       Defendants.

260.   Defendants have unjustly enriched themselves in retaining revenues derived from Plaintiffs

       and the other Class members who paid the fees under these circumstances.


                                            50
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 51 of 54 PageID #: 51



261.   Defendants’ misrepresentations caused Plaintiffs and the other Class Members harm and

       unjustly enriched Defendants because Plaintiffs and the other Class Members would not

       have paid the extra fees they did, had the true facts been known.

262.   Defendants retention of the non-gratuitous benefits conferred on it by Plaintiffs and the

       other Class members as a result of these misrepresentations is unjust and inequitable.

                                          COUNT XII
                                           FRAUD

263.   Plaintiffs re-allege and incorporate by reference the allegations set forth in the preceding

       paragraphs numbered one (1) through two hundred sixty-two (262) as if fully set forth

       herein.

264.   Plaintiffs bring this claim individually and on behalf of the other Class Members against

       Defendants.

265.   Defendants, including high-ranking officials of the Haitian government, Money Transfers

       Operators, Telecommunications companies, transacted with Plaintiffs and the other Class

       Members represented that the $1.50 and $0.05 fees collected are “lawful taxes levied to

       fund a free and compulsory education program.”

266.   Defendants representations regarding the fees collected were false. The fees are the result

       of unlawful conduct of Defendants who entered into horizontal price-fixing agreements

       which are memorialized by two circulars and a presidential order issued in contravention

       of the laws of Haiti.

267.   Defendants collected the fees under the ruse that they are taxes levied to fund a free and

       compulsory education program in Haiti. Contrary to the representations made by

       Defendants, the fees collected are converted to the personal and private use of the

       Defendants.


                                            51
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 52 of 54 PageID #: 52



268.    Defendants knew or should have known that under the laws of Haiti only the legislature

        has the power to levy taxes and that the circulars and presidential order, the instruments

        justifying the unlawful collection of the $1.50 and $0.05, do not in any way “have the force

        of law” whether in Haiti or in the United States.

269.    Defendants’ misrepresentations were intended to induce and actually induced Plaintiffs and

        the Class to contract with Defendants. In transacting with Defendants, Plaintiffs and the

        Class reasonably and justifiably relied on Defendants’ fraudulent representations.

270.    Plaintiffs and the Class were damaged through transacting with Defendants under these

        circumstances. Plaintiffs and the Class would not have contracted with Defendants or paid

        the extra fees they did, had the true facts been known.

                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiffs, individually and on behalf of members of the Classes described

in this Complaint, respectfully request that:

A.      The Court certify the Nationwide Classes pursuant to Federal Rule of Civil Procedure

        23(b)(2) and (b)(3), and adjudge Plaintiffs and their counsel to be adequate representatives

        thereof;

B.      Alternatively, the Court certify the Nationwide Classes pursuant to Federal Rule of Civil

        Procedure 23(b)(2) and (b)(3), and adjudge Plaintiffs and their counsel to be adequate

        representatives thereof;

C.      Alternatively, the Court certify the separate New York, Florida, and California Classes

        pursuant to Federal Rule of Civil Procedure 23(b)(2) and (b)(3), and adjudge Plaintiffs and

        their counsel to be adequate representatives thereof;

D.      The Court enter an Order requiring Defendants to pay to Plaintiffs and other members of

        the Classes economic, monetary, consequential, compensatory, or statutory damages,

                                              52
                                   CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 53 of 54 PageID #: 53



       whichever is greater; and, if Defendants’ conducts prove willful, awarding Plaintiffs and

       the other members of the Classes exemplary damages to the extent provided by law;

E.     The Court enter an Order awarding restitution and disgorgement of all moneys Defendants

       acquired by means of any act or practice declared by this Court to be wrongful, or any other

       appropriate remedy in equity, to Plaintiffs and the other members of the Classes;

F.     The Court enter an Order awarding declaratory and injunctive relief as permitted by law or

       equity, including: enjoining Defendants from continuing the unlawful practices set forth

       above; directing Defendants to cease their deceptive and misleading marketing and

       collection campaign in which they describe the extra fees as “lawful taxes levied to fund

       free and compulsory education;” and directing Defendants to disgorge all moneys

       Defendant acquired by means of any act or practice declared by this Court to be wrongful;

G.     The Court enter an Order declaring that the conduct alleged herein constitutes unlawful

       price-fixing, monopolization, and attempted monopolization in violation of Sections 1 and

       2 of the Sherman Antitrust Act; the New York Donnelly Act, New York common law,

       Cartwright Act, California common law, and Florida common law;

H.    The Court enter an Order awarding Plaintiffs, individually and on behalf of the other

      members of the Classes, their expenses and costs of suit, including reasonable attorneys’ fees

      and reimbursement of reasonable expenses, to the extent provided by law;

I.    The Court enter an Order awarding to Plaintiffs individually and on behalf of the other

      members of the Classes pre- and post-judgment interest, to the extent allowable; and

J.    For such other and further relief as may be just and proper.

                                 JURY TRIAL DEMANDED

     · Plaintiff and the Class members hereby demand a trial by jury.
Dated: December 22, 2018.

                                            53
                                 CLASS ACTION COMPLAINT
Case 1:18-cv-07340-LDH-PK Document 1 Filed 12/24/18 Page 54 of 54 PageID #: 54



                                         Respectfully submitted by

                                         s/ MARCEL P. DENIS_________
                                         MARCEL P. DENIS
                                         DENIS LAW GROUP, PLLC
                                         9602 Avenue L
                                         Brooklyn, New York 11236
                                         Telephone:   (404) 977-9733
                                         Facsimile:   (917) 810-3816
                                         Email:       mdcounsel@gmail.com

                                         Rodney R. Austin
                                         RODNEY R. AUSTIN PLLC
                                         61-43 186th Street
                                         Fresh Meadows, New York 11365
                                         Telephone:     (718) 475-2119
                                         Facsimile:     (877) 586-7490
                                         Email:         rodney@raustinlaw.com




                                      54
                           CLASS ACTION COMPLAINT
